                   UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Roberta Lyn Hoy
                                                           Case No.: 1-19-05263 HWV

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  MidFirst
 Court Claim Number:             05
 Last Four of Loan Number:       0569
 Property Address if applicable: 154 Needlewood Dr Unit D4

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $1,401.96
 b.      Prepetition arrearages paid by the trustee:                        $1,401.96
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $0.00
 f.       Postpetition arrearage paid by the trustee:                       $0.00
 g.       Total b, d, and f:                                                $1,401.96

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: January 07, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Roberta Lyn Hoy
                                                           Case No.: 1-19-05263 HWV

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on January 07, 2025, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Paul Murphy-Ahles Esquire
 Dethlefs, Pykosh & Murphy
 2132 Market St.
 Camp Hill PA 17011


 Served by First Class Mail
 Midfirst Bank
 999 NW Grand Blvd Suite 100
 Oklahoma City OK 73118

 Roberta Lyn Hoy
 154 Needlewood Dr
 Harrisburg PA 17112


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: January 07, 2025                                /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                               Disbursements for Claim
Case: 19-05263           ROBERTA LYN HOY
         MIDFIRST BANK
                                                                                    Sequence: 24
         999 NORTHWEST GRAND BLVD
                                                                                       Modify:
         SUITE 100
                                                                                   Filed Date:
         OKLAHOMA CITY, OK 731
                                                                                   Hold Code:
 Acct No: 154 Needlewood Dr - PRE-ARREARS - 0569
         ARREARS - 154 NEEDLEWOOD DRIVE


                                                 Debt:           $1,401.96      Interest Paid:              $0.00
        Amt Sched:               $182,218.00                                      Accrued Int:               $0.00
         Amt Due:        $0.00                     Paid:         $1,401.96       Balance Due:                $0.00

Claim name                              Type       Date          Check #     Principal    Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        MIDFIRST BANK
520-0 MIDFIRST BANK                             11/16/2022       2019016       $37.82       $0.00      $37.82 12/08/2022


520-0 MIDFIRST BANK                             10/18/2022       2017970      $279.00       $0.00     $279.00 10/27/2022


520-0 MIDFIRST BANK                             09/13/2022       2016922      $294.30       $0.00     $294.30 09/22/2022


520-0 MIDFIRST BANK                             08/17/2022       2015895      $294.30       $0.00     $294.30 08/25/2022


520-0 MIDFIRST BANK                             06/14/2022       2013873      $136.95       $0.00     $136.95 06/27/2022


520-0 MIDFIRST BANK                             05/17/2022       2012831      $136.95       $0.00     $136.95 05/26/2022


520-0 MIDFIRST BANK                             04/12/2022       2011759      $136.95       $0.00     $136.95 04/25/2022


520-0 MIDFIRST BANK                             03/16/2022       2010741       $85.69       $0.00      $85.69 03/24/2022


                                                              Sub-totals: $1,401.96         $0.00   $1,401.96

                                                             Grand Total: $1,401.96         $0.00




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